                   IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF KANSAS


IN RE:
      Erin Noel Higgins-Richardson

                       Debtor                    Case No: 18-20502-13


                CHAPTER 13 TRUSTEE'S MOTION TO DISMISS CASE


    COMES NOW the Chapter 13 Trustee, W.H. Griffin, and hereby requests the Court enter
an Order Dismissing the above captioned case without prejudice, and in support states and
alleges the following:

    The Plan is exceeding the allowed five year limitation. The Trustee calculates that the
payment will need to increase to $4880.00 per month in order for the Plan to complete within
the five year limitation.

    WHEREFORE, the Trustee moves the Court for an Order dismissing the above captioned
case without prejudice as provided in 11 U.S.C. Section 1307(c).

           Dated: July 25, 2019



                                               s/ W.H. Griffin, Chapter 13 Trustee
                                               W.H. Griffin #08060
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